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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 19-62004-SMITH/VALLE

 EUGENE WILLIAMS,

        Plaintiff,

 v.

 JANICE M. RILEY, INC.,

       Defendants.
 _______________________________________/

                     ORDER ADOPTING REPORT AND RECOMMENDATION

        This matter is before the Court on the United States Magistrate Judge’s Report and

 Recommendation to District Judge [DE 43], in which the Magistrate Judge recommends granting in

 part Plaintiff’s Verified Motion for Attorney’s Fees and Costs [DE 32] and Bill of Costs [DE 33]. The

 Magistrate Judge recommends that Plaintiff be awarded $14,137.50 in fees and $465 in costs. No

 objections have been filed in response to the Report and Recommendation. Thus, having reviewed the

 Magistrate Judge’s Report and Recommendation and the record, it is

        ORDERED that

        1. The Report and Recommendation [DE 43] is AFFIRMED AND ADOPTED.

        2. Plaintiff’s Verified Motion for Attorney’s Fees and Costs [DE 32] and Bill of Costs [DE

            33] are GRANTED IN PART. Plaintiff is awarded $14,137.50 in attorney’s fees and

            $465 in costs.

        3. This case is CLOSED.

        DONE AND ORDERED in Fort Lauderdale, Florida on this 19th day of August, 2021.




 cc:    Counsel of record
